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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
                                      www.flmb.uscourts.gov

In re:
                                                             Case No. 08-11-bk-02801-CED
ROBB & STUCKY LIMITED LLLP,                                  Chapter 11
a Florida limited liability limited partnership,1

      Debtor.
_______________________________________/

ROBB & STUCKY LIMITED LLLP,                                  Adv. Pro. No. 8:11-ap-00322-CED

            Plaintiff/Counter-Defendant,
v.

NORTH AMERICAN BANCARD, LLC
and
GLOBAL PAYMENTS DIRECT, INC.,

      Defendants/Counter-Plaintiffs.
______________________________________/

 DEBTOR’S AMENDED COMPLAINT 2 FOR (I) TURNOVER AND ACCOUNTING
 PURSUANT TO 11 U.S.C. § 542(a), (II) BREACH OF MERCHANT AGREEMENT,
(III) DAMAGES FOR BREACH OF SALE ORDER AND THE AUTOMATIC STAY,
AND (IV) AVOIDANCE AND RECOVERY OF UNAUTHORIZED POSTPETITION
          TRANSFERS PURSUANT TO 11 U.S.C. §§ 549(a) AND 550

            Robb & Stucky Limited LLLP (the “Debtor”), by and through undersigned counsel, files

this Amended Complaint For (I) Turnover And Accounting Pursuant To 11 U.S.C. § 542(a),

(II) Breach Of Merchant Agreement, (III) Damages For Breach Of Sale Order And The

Automatic Stay, And (IV) Avoidance and Recovery of Unauthorized Postpetition Transfers

Pursuant to 11 U.S.C. §§ 549(a) and 550 (the “Amended Complaint”) against North

American Bancard, LLC (“NAB”) and Global Payments Direct, Inc. (“Global”, and together


1 The last four digits of the taxpayer identification number for the Debtor are 6415. The mailing address for the
Debtor is 14550 Plantation Road, Fort Myers, FL 33912.
2 This Amended Complaint (i) amends the allegations contained in Count III of the original Complaint [D.E. 1]; and
(ii) adds Count VII Recovery of Avoided Transfers - 11 U.S.C. § 550.
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with NAB, the “Defendants”), and in support thereof, alleges as follows:

                                             Jurisdiction

            1.     This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this District

pursuant to 28 U.S.C. § 1408.

                                         General Allegations

            2.     On February 18, 2011 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under Chapter 11, title 11, United States Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”).

            3.     The Debtor is operating its business and managing its affairs as a debtor in

possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.

            4.      Prior to the Petition Date, on or about October 23, 2008, the Debtor executed a

Merchant Agreement establishing the credit card processing relationship between the Debtor and

the Defendants (the “Merchant Agreement”).             Pursuant to the Merchant Agreement, the

Defendants act as the Debtor’s sole processor of Visa, Mastercard, Diner and Discover credit card

transactions, and provide equipment to process credit card charges at the Debtor’s stores. A true

and correct copy of the Merchant Agreement is attached hereto as Exhibit A.

            5.     On the Petition Date, the Debtor filed its Emergency Motion for Approval of

Procedures in Connection With the Sale of All or Substantially All of the Debtor’s Assets,

Authorization to Enter Into Stalking Horse Agreement in Connection Therewith, Approval of the

Payment of Stalking Horse Protections, and the Setting of Related Auction and Hearing Dates

[D.E. No. 33] (the “Bidding Procedures Motion”).




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            6.      A hearing on the Bidding Procedures Motion was held before the Court on

February 23, 2011. On the same day, the Court entered an order [D.E. No. 64] (the “Bidding

Procedures Order”) granting the Bidding Procedures Motion.

            7.      Pursuant to the Bidding Procedures Order, (a) objections to the sale or to the

agency agreement governing the terms of the sale (the “Agency Agreement”) were due by

March 4, 2011, (b) an auction was scheduled for March 7, 2011, and (c) a hearing to consider

approval of the sale was scheduled for March 8, 2011.

            8.      On or before March 1, 2011, the Defendants unilaterally established – without

notice to the Debtor and absent any authorization from this Court – a $300,000 reserve or

holdback as security for prepetition chargebacks of credit card customers of the Debtor who used

Visa, Mastercard or Discover credit cards.

            9.      The Debtor conducted the auction on March 7, 2011. The Debtor selected a joint

venture comprised of Hudson Capital Partners, LLC and HYPERAMS, LLC (collectively, the

“Agent”) as the winning bidder for the rights to conduct the liquidation sales at the Debtor’s

stores in accordance with the Agency Agreement.

            10.     On March 8, 2011 the Court conducted a hearing to consider approval of the

Debtor’s selection of the Agent. On March 9, 2011, the Court entered its Order Approving

Agency Agreement, Store Closing Sales and Related Relief [D.E. No. 192] (the “Sale Order”).

            11.     The Defendants did not object to the Agency Agreement or to the entry of the

Sale Order.

            12.     On March 9, 2011, the Agent delivered the Guaranteed Amount (as defined in the

Agency Agreement) to the Debtor.

            13.     On March 10, 2011, the Agent commenced the “going out of business sales” at

the Debtor’s stores.
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            14.     Paragraph 7.2 of the Agency Agreement, approved pursuant to the Sale Order,

provides as follows (italicized emphasis added):

            Credit Card Proceeds. Agent shall be allowed to use Merchant’s current credit card
            systems and servicing arrangements (including Merchant’s credit card terminals and
            processor(s), credit card processor coding,) during the course of the Sale; provided,
            however, Agent shall establish its own merchant identification numbers as soon as
            practicable following the Sale Commencement Date; provided further however, Agent
            shall not be permitted to accept Merchant’s proprietary or private label credit card for
            processing sales of Merchandise in the Closing Stores , unless Agent reaches an
            agreement with a private label card processor reasonably satisfactory to the Merchant.
            Merchant shall process credit card transactions, applying customary practices and
            procedures. In the event that Merchant is unable to maintain credit card systems and
            servicing arrangements, it shall give Agent not less than one (1) weeks’ prior notice. At
            Agent’s request, Merchant shall cooperate with Agent to establish merchant identification
            numbers under Agent’s name to enable Agent to process all credit card sales for Agent’s
            account. Merchant shall deposit the net settlement received from any credit card sales
            receipts into the Designated Deposit Accounts until Agent opens the Agency Accounts, at
            which time any credit card sales receipts shall be deposited into the Agency Accounts.
            Merchant shall prepare a weekly reconciliation of the amounts deposited with respect to
            the sales of Merchandise by credit plus Sales Taxes less credit card and bank card fees,
            chargebacks and service charge adjustments, returns allowances and customer credits.
            Merchant shall not be responsible for paying and Agent shall pay as an Expense
            hereunder, all credit card fees charges, and chargebacks related to the Sale, whether
            received during or after the Sale Term.

            15.     As permitted by the Agency Agreement, between March 10 and March 12 the

Agent used the Debtor’s credit card systems and servicing arrangements with the Defendants to

process credit card sales involving Visa, Mastercard and Discover.           Upon information and

belief, on March 13, 2011, the Agent established its own credit card systems and servicing

arrangements.

            16.     Between March 10 and March 12, the Agent processed over $2,442,163 in credit

card sales transactions using the Debtor’s processing systems with the Defendants.

            17.     On March 16, 2011, the Debtor received correspondence (the “Termination

Letter”) from NAB, a true and correct copy of which is attached hereto as Exhibit B.           In the

Termination Letter, NAB advises the Debtor that it has suspended the Debtor’s processing

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privileges under the Merchant Agreement, disabled the Debtor’s processing terminals effective

immediately, “and that no transactions submitted by R & S [Debtor], the Purchaser [Agent] or any

other party will be accepted[.]” Finally, and most egregiously, NAB states that it retained all funds

processed on and after March 11, 2011 – which total over $2 million – in addition to funds already

placed on reserve.

            18.     The Debtor’s records reflect that to date, the Defendants have deducted or

withheld from the Debtor approximately $461,000 in proceeds of post-petition sale transactions,

as well as holding over $860,000 in “reserves” against postpetition receipts. When added to the

sale proceeds admittedly retained by NAB pursuant to the Termination Letter, this totals over

$3.2 million in monies due the Debtor and withheld by the Defendants without court authority

and in violation of the automatic stay.

            19.     The Debtor has retained the services of undersigned counsel and is obligated to

pay it a reasonable fee for such services.

            20.     All conditions precedent to the bringing of this action have been performed,

waived or are otherwise excused.

                                        COUNT I
                           TURNOVER OF PROPERTY TO THE ESTATE

            21.     The Debtor realleges and reincorporates all of the allegations set forth in

paragraphs 1 through 20 above.

            22.     The monies received, reserved, and/or retained by the Defendants as set forth in

paragraphs 8, 17 and 18 hereinabove constitute property of the estate as that term is defined in

11 U.S.C. § 541.

            23.     As the monies received, reserved, and/or retained by the Defendants as set forth in

paragraphs 8, 17 and 18 hereinabove are property of the estate, the Defendants are required by

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11 U.S.C. § 542(a) to deliver to the Debtor the full amount of such monies so received, reserved,

and/or retained.

            24.     Despite demand, the Defendants have failed and refused to turnover the monies

received, reserved or retained by the Defendants as set forth hereinabove.

            WHEREFORE, the Debtor respectfully requests that this Court enter a judgment on its

behalf and against the Defendants:

            A.      Declaring that the monies received, reserved, and/or retained by the Defendants as

set forth in paragraphs 8, 17 and 18 hereinabove constitute property of the estate under 11 U.S.C.

§ 541;

            B.      Directing the Defendants to turnover to the Debtor the monies so received,

reserved, and/or retained plus interest thereon, upon the entry of the judgment;

            C.      Awarding the Debtor the fees and costs (including reasonable attorneys’ fees) of

enforcing the Merchant Agreement and obtaining a turnover from the Defendants; and

            D.      Granting such other and further relief as may be just and proper.

                                               COUNT II
                                             ACCOUNTING

            25.     The Debtor realleges and reincorporates all of the allegations set forth in

paragraphs 1 through 20 above.

            26.     Pursuant to 11 U.S.C. § 542(a), the Defendants are obligated to provide a full

accounting of the monies received, reserved, and/or retained by the Defendants as set forth in

paragraphs 8, 17 and 18 hereinabove, as the monies so received, reserved, and/or retained by the

Defendants constitute property of the Debtor’s estate, property that the estate can use, sell or

lease, and property which is not of inconsequential value to the estate.



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            WHEREFORE, the Debtor respectfully requests that this Court enter a judgment on its

behalf and against the Defendants:

            A.      Finding that an accounting is necessary to determine the amount of monies

received, reserved, and/or retained by the Defendants as set forth in paragraphs 8, 17 and 18

hereinabove;

            B.      Directing the Defendants to account for monies so received, reserved, and/or

retained by the Defendants; and

            C.      Granting such other and further relief as may be just and proper.

                                         COUNT III
                              BREACH OF MERCHANT AGREEMENT
                                      [AS TO GLOBAL]

            27.     The Debtor realleges and reincorporates all of the allegations set forth in

paragraphs 1 through 20 above.

            28.     Global breached the Merchant Agreement by issuing or causing NAB to issue the

Termination Letter, suspending the Debtor’s processing privileges under the Merchant Agreement,

disabling the Debtor’s processing terminals, withholding monies due to the Debtor on account of

post-petition sale transactions, and refusing to accept transactions submitted by the Debtor or the

Agent.

            29.     Global further breached the Merchant Agreement by, inter alia, retaining all funds

processed on and after March 11, 2011.

            30.      Global’s breach of the Merchant Agreement damaged the Debtor in an amount to

be established at trial.

            WHEREFORE, the Debtor respectfully requests that this Court enter a judgment on its

behalf and against Global:


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            A.      Finding that Global’s actions in issuing or causing NAB to issue the Termination

Letter, suspending the Debtor’s processing privileges under the Merchant Agreement, disabling the

Debtor’s processing terminals, refusing to accept transactions submitted by the Debtor or the

Agent, and retaining funds on account of post-petition sale transactions, including all funds

processed on and after March 11, 2011 constitute breaches of the Merchant Agreement;

            B.      Awarding damages to the Debtor with respect to such breaches in an amount to be

established at trial;

            C.      Awarding the Debtor the fees and costs (including reasonable attorneys’ fees)

incurred by the Debtor in connection with the breaches of the Merchant Agreement; and

            D.      Granting such other and further relief as may be just and proper.

                                       COUNT IV
                          DAMAGES FOR VIOLATION OF SALE ORDER

            31.     The Debtor realleges and reincorporates all of the allegations set forth in

paragraphs 1 through 20 above

            32.     Paragraph 7.2 of the Agency Agreement, which was approved by the Sale Order,

provides that “Agent shall be allowed to use Merchant’s current credit card systems and

servicing arrangements (including Merchant’s credit card terminals and processor(s), credit card

processor coding,) during the course of the Sale[.]”

            33.     The Defendants did not object to the entry of the Sale Order. The Sale Order is

final and non-appealable, and binding on all creditors and parties in interest, including the

Defendants.

            34.     The Defendants’ actions in issuing the Termination Letter, suspending the

Debtor’s processing privileges under the Merchant Agreement, disabling the Debtor’s processing

terminals, withholding or retaining funds from the Debtors, including the proceeds of all sale

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transactions from and after March 11, and refusing to accept transactions submitted by the

Debtor or the Agent were all taken in violation of the Sale Order.

            35.     The Defendants’ violations of the Sale Order damaged the Debtor in an amount to

be established at trial.

            WHEREFORE, the Debtor respectfully requests that this Court enter a judgment on its

behalf and against the Defendants:

            A.      Finding that the Defendants’ actions in issuing the Termination Letter, suspending

the Debtor’s processing privileges under the Merchant Agreement, disabling the Debtor’s

processing terminals, withholding or retaining funds from the Debtors, including the proceeds of

all sale transactions from and after March 11, and refusing to accept transactions submitted by the

Debtor or the Agent, constitute violations of the Sale Order;

            B.      Awarding damages to the Debtor with respect to such violations in an amount to

be established at trial;

            C.      Awarding the Debtor the fees and costs (including reasonable attorneys’ fees)

incurred by the Debtor; and

            D.      Granting such other and further relief as may be just and proper.

                                     COUNT V
                    DAMAGES FOR VIOLATION OF THE AUTOMATIC STAY

            36.      The Debtor realleges and reincorporates all of the allegations set forth in

paragraphs 1 through 20 above.

            37.     The Defendants’ actions in deducting approximately $461,000 in postpetition

proceeds for prepetition disputes, as well as holding over $860,000 in “reserves” of post-petition

receipts, constitute violations of the automatic stay under 11 U.S.C. § 362(a).



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            38.     The Defendants were on notice that deducting postpetition proceeds for

prepetition disputes and the establishment of postpetition reserves were in violation of the

automatic stay in this case, yet failed to remedy such violations despite notice thereof.

            39.     The Defendants further violated the automatic stay by issuing the Termination

Letter, suspending the Debtor’s processing privileges under the Merchant Agreement, disabling

the Debtor’s processing terminals, refusing to accept transactions submitted by the Debtor or the

Agent, and retaining all funds processed on and after March 11, 2011.

            40.     The Defendants’ violations of the automatic stay damaged the Debtor in an amount

to be established at trial.

            WHEREFORE, the Debtor respectfully requests that this Court enter a judgment on its

behalf and against the Defendants:

            A.      Finding that the Defendants’ actions in establishing postpetition reserves,

deducting postpetition proceeds for prepetition disputes, issuing the Termination Letter,

suspending the Debtor’s processing privileges under the Merchant Agreement, disabling the

Debtor’s processing terminals, refusing to accept transactions submitted by the Debtor or the

Agent, and retaining all funds processed on and after March 11, 2011 constitute violations of the

automatic stay;

            B.      Awarding damages to the Debtor, including punitive damages, with respect to

such violations in an amount to be established at trial;

            C.      Awarding the Debtor the fees and costs (including reasonable attorneys’ fees)

incurred by the Debtor; and

            D.      Granting such other and further relief as may be just and proper.




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                                       COUNT VI
                         UNAUTHORIZED POSTPETITION TRANSFERS
                       UNDER SECTION 549 OF THE BANKRUPTCY CODE

            41.     The Debtor realleges and reincorporates all of the allegations set forth in

paragraphs 1 through 20 above.

            42.      After the Petition Date, the Defendants received transfers of property of the

estate (specifically, by establishing a reserve or holdback as security for prepetition chargeback

claims of credit card customers) that were not authorized by Order of this Court or by any section

of the Bankruptcy Code (such transfers, the “Postpetition Transfers”).

            43.     The Postpetition Transfers are subject to avoidance under 11 U.S.C. § 549(a).

            WHEREFORE, the Debtor respectfully requests that this Court enter a judgment on its

behalf and against the Defendants:

            A.      Declaring the Postpetition Transfers to have been unauthorized postpetition

transfers under 11 U.S.C. § 549(a);

            B.      Avoiding the Postpetition Transfers;

            C.      Awarding the Debtor fees and costs (including reasonable attorneys’ fees) of this

action; and

            D.      Granting such other and further relief as may be just and proper.

                                       COUNT VII
                         RECOVERY OF AVOIDED TRANSFERS - 11 U.S.C. § 550

            44.     Debtor hereby incorporates the allegations in paragraphs 1 through 43 as if fully

re-alleged herein.

            45.     Debtor is entitled to avoid the Transfers pursuant to 11 U.S.C. § 549.




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            46.     The Defendants were the initial transferee of the Transfers or the immediate or

mediate transferee of such initial transferee or the person for whose benefit the Transfers were

made.

            47.     Pursuant to 11 U.S.C. § 550(a), Debtor is entitled to recover the Transfers from

the Defendants, plus interest thereon to the date of payment and the costs of this action.

            WHEREFORE, the Debtor respectfully requests that this Court enter a judgment on its

behalf and against the Defendants:

            A.      Enter a judgment against the Defendants as to Count VI of the Complaint;

            B.      Avoid the Transfers pursuant to 11 U.S.C. § 549 and grant recovery thereof to the

Debtor pursuant to 11 U.S.C. § 550;

            C.      Award pre-judgment interest at the maximum legal rate running from the date of

each Transfer to the date of judgment herein;

            D.      Grant such other and further relief as the Court deems just and proper

Dated: April 18, 2011                             Respectfully submitted,

                                                  BERGER SINGERMAN, P.A.
                                                  Counsel for the Debtor
                                                  200 South Biscayne Blvd., Ste 1000
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                                                  By:     /s/ Jordi Guso
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                               CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the forgoing was served

electronically via the Court’s CM/ECF or as indicated upon those parties listed below on this 18th

day of April 2011.



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                                      Exhibit A

                                Merchant Agreement




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                                      Exhibit B

                                 Termination Letter




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                                      Exhibit B

                                 Termination Letter




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